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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

DAVID JONES,
Civil Case Number:

Plaintiff, 03-cv-1244
-against-
(TJM/DRH)
JOHN A GRAMBLING, JR.

Defendant.

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment Was entered and docketed in the above-entitled action on
February 2, 2002, in the Clerk's Offlce of the United States District Court for the Northern
Distn`ct of New York, under Civil Case Number 03-cv-1244, in favor of the plaintiff, David
Jones, and against the defendant, John A. Grambling, Jr., in the amount of $1 55,81 1.67, and

WHEREAS, said judgment was fully paid and satisfied on the execution of this
Satisfaction of Judgment and no sums remain due and owing, and

THEREFORE, full satisfaction of this judgment is hereby acknowledged, and the
Clerk of the United States District Court for the Northern District of New York is hereby

authorized and directed to make an entry of this satisfaction upon the record.

DATED; ` §§ j¢ __, 2006

   
 

 

J ames B. Glucksman, Esq.

Bar Roll. 509660

Rattet, Pasterenak & Gordon
Oliver,LLP

Attorneys to Plaintiff David J ones

550 Mamaroneck Ave.

Harrison, New York 10528

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STATE OF NEW YORK )
) ss.:
COUNTY OF WESTCI-[ESTER)

On . %5006, before me, the subscriber, personally appeared JAMES B.
GLUCKSMAN, to me own and known to me to be the same person described in and
Who executed the within instrument, and he acknowledged to me that he executed the same.

 

